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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                      10/19/2020


A.J. et al.,

                                            Plaintiffs,                18-CV-12112 (GBD)(SN)

                          -against-                                             ORDER

BRUCE WEBER,

                                            Defendant.

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SARAH NETBURN, United States Magistrate Judge:

        In light of the upcoming expert discovery deadline on November 21, 2020, and the short

turnaround before the deadline for parties to file motions for summary judgment on December

21, 2020, the parties are directed to contact Courtroom Deputy Rachel Slusher at

rachel_slusher@nysd.uscourts.gov to schedule a settlement conference, if they believe it would

be productive at this time. Considering the Court’s busy calendar, settlement conferences must

generally be scheduled at least six to eight weeks in advance. The Court will likely be unable to

accommodate last-minute requests for settlement conferences, and the parties should not

anticipate that litigation deadlines will be adjourned in response to late requests for settlement

conferences.

SO ORDERED.




DATED:           October 19, 2020
                 New York, New York
